Case 2:18-cv-00135-JRG Document 158 Filed 02/06/19 Page 1 of 4 PageID #: 8761



                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

FRACTUS, S.A.,                                     §
                                                   §
               Plaintiff,                          §   CIVIL ACTION NO. 2:18-CV-00135-JRG
                                                   §              LEAD CASE
v.                                                 §
                                                   §
AT&T MOBILITY LLC,                                 §
                                                   §
SPRINT COMMUNICATIONS                              §   CIVIL ACTION NO. 2:18-CV-00136-JRG
COMPANY, L.P., SPRINT SPECTRUM,                    §             MEMBER CASE
L.P., SPRINT SOLUTIONS, INC.,                      §
NEXTEL OPERATIONS, INC.,                           §
                                                   §
T-MOBILE US, INC., T-MOBILE USA,                   §   CIVIL ACTION NO. 2:18-CV-00137-JRG
INC.,                                              §             MEMBER CASE
                                                   §
                                                   §
VERIZON COMMUNICATIONS INC.,                       §   CIVIL ACTION NO. 2:18-CV-00138-JRG
CELLCO PARTNERSHIP D/B/A VERIZON                   §             MEMBER CASE
WIRELESS,                                          §
                                                   §
               Defendants.                         §

     ORDER FOCUSING PATENT CLAIMS AND PRIOR ART TO REDUCE COSTS

       The Court ORDERS as follows:

       1. This Order supplements all other discovery rules and orders. It streamlines the issues

          in this case to promote a “just, speedy, and inexpensive determination” of this action,

          as required by Federal Rule of Civil Procedure 1.

Phased Limits on Asserted Claims and Prior Art References

       2. By the date set for the opening claim construction brief pursuant to P.R. 4-5(a), Plaintiff

          Fractus, S.A. (“Fractus”) shall serve a Preliminary Election of Asserted Claims, which

          shall assert, from among those claims previously identified by Fractus pursuant to P.R.

          3-1(a), no more than ten (10) claims from each patent and not more than a total of
Case 2:18-cv-00135-JRG Document 158 Filed 02/06/19 Page 2 of 4 PageID #: 8762



                thirty-two (32) claims across the Related Cases.1 Not later than 14 days after the

                deadline for service of the Preliminary Election of Asserted Claims, Defendants2 shall

                serve a Preliminary Election of Asserted Prior Art, which shall assert no more than

                twelve (12) prior art references against each patent and not more than a total of sixty

                (60) references across the Related cases.3,4

            3. Not later than twenty-eight (28) days before the deadline for service of expert reports

                by the party (or parties) with the burden of proof on an issue, Fractus shall serve a Final

                Election of Asserted Claims, which shall identify for each Carrier Case5 no more than

                five (5) asserted claims per patent from among the previously identified claims in the

                Preliminary Election of Asserted Claims, and no more than a total of sixteen (16) claims

                across the Related Cases. For purposes of this Final Election of Asserted Claims,

                Fractus will identify the same set of claims across these Related Cases for any particular

                accused antenna product and its insubstantial variants. By the date set for the service

                of expert reports by the party (or parties) with the burden of proof on an issue, the

                Defendant Group6 in each Carrier Case shall jointly serve, on a Carrier Case by Carrier


1
 For purposes of this Order, “Related Cases” refers collectively to the lead case—2:18-cv-135—and three member
cases—2:18-cv-136, 2:18-cv-137, and 2:18-cv-138—as shown above.
2
  For purposes of this Order, “Defendants” refers collectively to AT&T Mobility LLC; Sprint Communications
Company, L.P., Sprint Spectrum, L.P., Sprint Solutions, Inc. and Nextel Operations, Inc. (collectively, “Sprint”); T-
Mobile US, Inc. and T-Mobile USA, Inc. (collectively, “T-Mobile”); Cellco Partnership d/b/a/ Verizon Wireless;
Intervenor-Defendant CommScope Technologies LLC; and Intervenor-Defendant CellMax Technologies AB.

3
 For purposes of this Order, a prior art instrumentality (such as a device or process) and associated references that
describe that instrumentality shall count as one reference, as shall the closely related work of a single prior artist.

4
 For purposes of this Order, the asserted patent families are defined as: (1) the “IMBA Asserted Patents” (U.S. Patent
Nos. 6,937,191; 7,250,918; 7,557,768; 7,932,870; 8,228,256; 8,896,493; and 9,905,940); and (2) the “STBA Asserted
Patents” (U.S. Patent Nos. 8,497,814; 8,754,824; and 9,450,305).

5
    For purposes of this Order, a “Carrier Case” refers individually to Case Nos. 2:18-cv-135, -136, -137, or -138.

6
     For purposes of this Order, a “Defendant Group” refers to the defendant carrier and corresponding intervenor-

                                                             2
Case 2:18-cv-00135-JRG Document 158 Filed 02/06/19 Page 3 of 4 PageID #: 8763



             Case basis, a Final Election of Asserted Prior Art, which shall identify no more than

             eight (8) asserted prior art references per patent from among the prior art references

             previously identified in the Preliminary Election of Asserted Prior Art for a particular

             patent and no more than a total of thirty-two (32) prior art references across the Related

             Cases. For purposes of this Final Election of Asserted Prior Art, each obviousness

             combination shall count as a separate prior art reference. For purposes of this Final

             Election of Asserted Prior Art, if Fractus asserts a claim against one or more Defendant

             Group(s) that is not asserted against all Defendant Groups, the Defendant Group(s)

             against whom the claim is asserted may elect one additional prior art reference for that

             patent.

        4. Should Fractus decide to assert infringement of only one (1) patent, all per-patent limits

             in this Order are increased by 50%, rounding up.

Modification of this Order

        5. Subject to Court approval, the parties may suggest a subsequent modification of this Order

             by agreement, but they should endeavor to limit the asserted claims and prior art

             references to the greatest extent possible. Absent agreement, post-entry motions to

             modify this Order’s numerical limits on asserted claims and prior art references must

             demonstrate material good cause warranting such modification. Motions to modify

             other portions of this Order are committed to the sound discretion of the Court.7




defendants in a single Carrier Case. For example, the Defendant Group in Case No. 2:18-cv-135includes Defendant
AT&T Mobility LLC, Intervenor-Defendant CommScope Technologies LLC, and Intervenor -Defendant CellMax
Technologies AB.
7
 This Order contemplates that the parties and the Court may further narrow the issues during pretrial proceedings in
order to present a manageable case at trial.

                                                         3
Case 2:18-cv-00135-JRG Document 158 Filed 02/06/19 Page 4 of 4 PageID #: 8764




      SIGNED this 19th day of December, 2011.
     So ORDERED and SIGNED this 6th day of February, 2019.




                                              ____________________________________
                                              RODNEY GILSTRAP
                                              UNITED STATES DISTRICT JUDGE




                                       4
